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           EXHIBIT 3
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



REALTIME DATA LLC d/b/a ISO,

                      Plaintiff,                          Civil Action No. No. 1:17‐cv‐11279‐IT

              v.
                                                            JURY TRIAL DEMANDED

ACRONIS, INC.,

                       Defendant.



                                     PROTECTIVE ORDER

        WHEREAS, Plaintiffs, Realtime Data LLC d/b/a ISO (“Realtime”) and Defendant,

 Acronis, Inc., (“Acronis”) hereafter Plaintiff and Defendant are referred to as “the Parties,”

 believe that certain information that is or will be encompassed by discovery demands by the

 Parties involves the production or disclosure of trade secrets, confidential business information,

 or other proprietary information;

        WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

 with Federal Rule of Civil Procedure 26(c):

        THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.      Each Party may designate as confidential for protection under this Order, in whole or in

 part, any document, information or material that constitutes or includes, in whole or in part,

 confidential or proprietary information or trade secrets of the Party or a Third Party to whom the

 Party reasonably believes it owes an obligation of confidentiality with respect to such document,

 information or material (“Protected Material”). Protected Material shall be designated by the

 Party producing it by affixing a legend or stamp on such document, information or material as
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 follows: “CONFIDENTIAL.” The word “CONFIDENTIAL” shall be placed clearly on each

 page of the Protected Material (except deposition and hearing transcripts) for which such

 protection is sought. For deposition and hearing transcripts, the word “CONFIDENTIAL” shall

 be placed on the cover page of the transcript (if not already present on the cover page of the

 transcript when received from the court reporter) by each attorney receiving a copy of the

 transcript after that attorney receives notice of the designation of some or all of that transcript as

 “CONFIDENTIAL.”


2.        Any document produced before issuance of this Order with the designation

 “Confidential” or “Confidential - Outside Attorneys’ Eyes Only” shall receive the same

 treatment as if designated “RESTRICTED - ATTORNEYS’ EYES ONLY” under this Order,

 unless and until such document is redesignated to have a different classification under this Order.

 3.       With respect to documents, information or material designated “CONFIDENTIAL,”

 “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

 SOURCE CODE” (collectively “DESIGNATED MATERIAL”),1 subject to the provisions

 herein and unless otherwise stated, this Order governs, without limitation: (a) all documents,

 electronically stored information, or things as defined by the Federal Rules of Civil Procedure;

 (b) all pretrial, hearing, or deposition testimony, or documents marked as exhibits or for

 identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings, and other

 court filings; (d) affidavits; and (e) stipulations. All copies, reproductions, extracts, digests, and


          1
            The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the class of materials
 designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL
 SOURCE CODE,” both individually and collectively.



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complete or partial summaries prepared from any DESIGNATED MATERIALS shall also be

considered DESIGNATED MATERIAL and treated as such under this Order.

4.     A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”) may

be made at any time. Inadvertent or unintentional production of documents, information, or

material that has not been designated as DESIGNATED MATERIAL shall not be deemed a

waiver in whole or in part of a claim for confidential treatment. Any party that inadvertently or

unintentionally produces Protected Material without designating it as DESIGNATED

MATERIAL may request destruction of that Protected Material by notifying the recipient(s), as

soon as reasonably possible after the producing Party becomes aware of the inadvertent or

unintentional disclosure, and providing replacement Protected Material that is properly

designated. The recipient(s) shall then destroy all copies of the inadvertently or unintentionally

produced Protected Materials and any documents, information or material derived from or based

thereon.

5.     “CONFIDENTIAL” documents, information and material may be disclosed only to the

following persons, except upon receipt of the prior written consent of the designating party, upon

order of the Court, or as set forth in paragraph 13 herein:

(a)    outside counsel of record in this Action for the Parties;
(b)    employees of such counsel assigned to and reasonably necessary to assist such counsel in
       the litigation of this Action;
(c)    in-house counsel for the Parties who either have responsibility for making decisions
       dealing directly with the litigation of this Action, or who are assisting outside counsel in
       the litigation of this Action;
(d)    up to and including three designated representatives of each of the Parties to the extent
       reasonably necessary for the litigation of this Action, except that either Party may in good
       faith request the other Party’s consent to designate one or more additional

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       representatives, the other Party shall not unreasonably withhold such consent, and the
       requesting Party may seek leave of Court to designate such additional representative(s) if
       the requesting Party believes the other Party has unreasonably withheld such consent;
(e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party or an
       affiliate of a Party) retained for the purpose of this litigation, provided that: (1) such
       consultants or experts are not presently employed by the Parties hereto for purposes other
       than this Action, or other patent litigation; (2) before access is given, the consultant or
       expert has completed the Undertaking attached as Exhibit A hereto and the same is
       served upon the producing Party with a current curriculum vitae of the consultant or
       expert at least ten days before access to the Protected Material is to be given to that
       consultant; and (3) the producing Party did not object to and notify the receiving Party in
       writing that it objects to disclosure of Protected Material to the consultant or expert. The
       Parties agree to promptly confer and use good faith to resolve any such objection. If the
       Parties are unable to resolve any objection, the objecting Party may file a motion with the
       Court within fifteen days of the notice, or within such other time as the Parties may agree,
       seeking a protective order with respect to the proposed disclosure. The objecting Party
       shall have the burden of proving the need for a protective order. No disclosure shall occur
       until all such objections are resolved by agreement or Court order;
(f)    independent litigation support services, including persons working for or as court
       reporters, graphics or design services, jury or trial consulting services, and photocopy,
       document imaging, and database services retained by counsel and reasonably necessary
       to assist counsel with the litigation of this Action; and
(g)    the Court and its personnel.

6.     A Party shall designate documents, information or material as “CONFIDENTIAL” only

upon a good faith belief that the documents, information, or material contains confidential or

proprietary information or trade secrets of the Party or a Third Party to whom the Party

reasonably believes it owes an obligation of confidentiality with respect to such documents,

information or material.

7.     Documents, information, or material produced pursuant to any discovery request in this

Action, and designated as DESIGNATED MATERIAL, shall be used by the Parties only in the

litigation of this Action and shall not be used for any other purpose. Any person or entity who

obtains access to DESIGNATED MATERIAL or the contents thereof pursuant to this Order

shall not make any copies, duplicates, extracts, summaries, or descriptions of such
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DESIGNATED MATERIAL or any portion thereof, except as may be reasonably necessary in

the litigation of those Actions. Any such copies, duplicates, extracts, summaries, or descriptions

shall be classified DESIGNATED MATERIALS and subject to all of the terms and conditions of

this Order.

8.     To the extent a producing Party believes that certain Protected Material qualifying to be

designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

limitation, the producing Party may designate such Protected Material “RESTRICTED -

ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

source code or live data (that is, data as it exists residing in a database or databases) (“Source

Code Material”), the producing Party may designate such Protected Material as “RESTRICTED

CONFIDENTIAL SOURCE CODE.”

9.     For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY,

access to, and disclosure of, such Protected Material shall be limited to individuals listed in

paragraphs 5(a-c) and (e-g).

10.    For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE,

the following additional restrictions apply:

(a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
       computer(s) (that is, the computer may not be linked to any network, including a local
       area network (“LAN”), an intranet or the Internet). The stand-alone computer(s) must be
       connected to (i) a printer, or (ii) a device capable of temporarily storing electronic copies
       solely for the limited purposes permitted pursuant to paragraphs 10 (h and k) below.
       Additionally, except as provided in paragraph 10(k) below, the stand-alone computer(s)
       may be located at the offices of the producing Party’s outside counsel or the producing
       Party’ principle place of business in Burlington, MA. Alternatively, a Party’s Source
       Code Material may be provided on a computer located at a location in the U.S. that is set
       up for review of the source code via remote connection if the producing Party can show
       that such review via remote connection does not unreasonably hinder the receiving

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          Party’s ability to efficiently and effectively conduct review of the Source Code Material.
          The Parties agree to cooperate in good faith regarding the choice of location where the
          Source Code Material can be reviewed;
(b)       The receiving Party shall make reasonable efforts to restrict its requests for such access to
          the stand-alone computer(s) to normal business hours, which for purposes of this
          paragraph shall be 9:30 a.m. through 5:00 p.m. However, upon reasonable notice from
          the receiving party, the producing Party shall make reasonable efforts to accommodate
          the receiving Party’s request for access to the stand-alone computer(s) outside of normal
          business hours. The Parties agree to cooperate in good faith such that maintaining the
          producing Party’s Source Code Material at the offices of either its outside counsel or the
          producing Party’ principle place of business in Burlington, MA shall not unreasonably
          hinder the receiving Party’s ability to efficiently and effectively conduct the prosecution
          or defense of this Action;
(c)       The producing Party shall provide the receiving Party with information explaining how to
          start, log on to, and operate the stand-alone computer(s) in order to access the produced
          Source Code Material on the stand-alone computer(s). The parties agree that in order to
          safeguard against dissemination of the Source Code Material, the producing party may
          restrict any electronic or recording devices to be permitted in the room containing the
          stand-alone computer(s). The producing party shall also furnish a separate break-out
          room where the reviewing party may securely keep their personal belongings and conduct
          phone calls. To ensure compliance with the provisions of the Protective Order, a member
          of the producing party’s team may be present at all times. The producing party member
          shall not review the reviewing party’s work product;
(d)       The producing Party will produce Source Code Material in computer searchable format
          on the stand-alone computer(s) as described above;
(e)       Access to Protected Material designated RESTRICTED CONFIDENTIAL SOURCE
          CODE shall be limited to outside counsel and up to three outside consultants or experts5
          (i.e., not existing employees or affiliates of a Party or an affiliate of a Party) retained for
          the purpose of this litigation and approved to access such Protected Materials pursuant to
          paragraph 5(e) above. A receiving Party may include excerpts of Source Code Material
          in a pleading, exhibit, expert report, discovery document, deposition transcript, other
          Court document, provided that the Source Code Documents are appropriately marked
          under this Order, restricted to those who are entitled to have access to them as specified
          herein, and, if filed with the Court, filed under seal in accordance with the Court’s rules,
          procedures and orders;
(f)       To the extent portions of Source Code Material are quoted in a Source Code Document,
          either (1) the entire Source Code Document will be stamped and treated as

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   For the purposes of this paragraph, an outside consultant or expert is defined to include the outside consultant’s or expert’s
direct reports and other support personnel, such that the disclosure to a consultant or expert who employs others within his or her
firm to help in his or her analysis shall count as a disclosure to a single consultant or expert.



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       RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages containing quoted
       Source Code Material will be separately stamped and treated as RESTRICTED
       CONFIDENTIAL SOURCE CODE;
(g)    Except as set forth in paragraph 10(k) below, no electronic copies of Source Code
       Material shall be made without prior written consent of the producing Party, except as
       necessary to create documents which, pursuant to the Court’s rules, procedures and order,
       must be filed or served electronically;
(h)    The receiving Party shall be permitted to make a reasonable number of printouts and
       photocopies of Source Code Material, all of which shall be designated and clearly labeled
       “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the receiving Party shall
       maintain a log of all such files that are printed or photocopied;
(i)    Should such printouts or photocopies be transferred back to electronic media, such media
       shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and shall continue
       to be treated as such;
(j)    If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
       photocopies of Source Code Material, the receiving Party shall ensure that such outside
       counsel, consultants, or experts keep the printouts or photocopies in a secured locked area
       in the offices of such outside counsel, consultants, or expert. The receiving Party may
       also temporarily keep the printouts or photocopies at: (i) the Court for any proceedings(s)
       relating to the Source Code Material, for the dates associated with the proceeding(s); (ii)
       the sites where any deposition(s) relating to the Source Code Material are taken, for the
       dates associated with the deposition(s); and (iii) any intermediate location reasonably
       necessary to transport the printouts or photocopies (e.g., a hotel prior to a Court
       proceeding or deposition);
(k)    A producing Party’s Source Code Material may only be transported by the receiving
       Party at the direction of a person authorized under paragraph 10(e) above to another
       person authorized under paragraph 10(e) above, on paper or removable electronic media
       (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry, Federal Express or
       other similarly reliable courier. Source Code Material may not be transported or
       transmitted electronically over a network of any kind, including a LAN, an intranet, or
       the Internet. Source Code Material may only be transported electronically for the
       purpose of Court proceeding(s) or deposition(s) as set forth in paragraph 10(j) above and
       is at all times subject to the transport restrictions set forth herein. But, for those purposes
       only, the Source Code Materials may be loaded onto a stand-alone computer; and,
11.    Any attorney representing a Party, whether in-house or outside counsel, and any person

associated with a Party and permitted to receive the other Party’s Protected Material that is

designated RESTRICTED -- ATTORNEYS’ EYES ONLY or RESTRICTED CONFIDENTIAL

SOURCE CODE (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives the

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other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not prepare, prosecute

or assist in the preparation or prosecution of any patent application pertaining to compression

techniques on behalf of the receiving Party or its acquirer, successor, predecessor, or other

affiliate during the pendency of this Action and for one year after its conclusion, including any

appeals. To ensure compliance with the purpose of this provision, each Party shall create an

“Ethical Wall” between those persons with access to HIGHLY SENSITIVE MATERIAL and

any individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any patent

application pertaining to compression techniques. To avoid any doubt, “prosecution” as used in

this paragraph does not include representing a party challenging a patent before a domestic or

foreign agency (including, but not limited to, a reissue protest, ex parte reexamination, or inter

partes review).

12.    Nothing in this Order shall require production of documents, information or other

material that a Party contends is protected from disclosure by the attorney-client privilege, the

work product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

other material subject to a claim of attorney-client privilege, work product doctrine, or other

privilege, doctrine, or immunity is inadvertently or unintentionally produced, such production

shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to, any such

privilege, doctrine, or immunity.    Any Party that inadvertently or unintentionally produces

documents, information or other material it reasonably believes are protected under the attorney-

client privilege, work product doctrine, or other privilege, doctrine, or immunity may obtain the

return of such documents, information or other material by promptly notifying the recipient(s)


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and providing a privilege log for the inadvertently or unintentionally produced documents,

information or other material.     The recipient(s) shall gather and return all copies of such

documents, information or other material to the producing Party, except for any pages containing

privileged or otherwise protected markings by the recipient(s), which pages shall instead be

destroyed and certified as such to the producing Party.

13.    There shall be no disclosure of any DESIGNATED MATERIAL by any person

authorized to have access thereto to any person who is not authorized for such access under this

Order. The Parties are hereby ORDERED to safeguard all such documents, information and

material to protect against disclosure to any unauthorized persons or entities.

14.    Nothing contained herein shall be construed to prejudice any Party’s right to use any

DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that the

DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have access to

the DESIGNATED MATERIAL by virtue of his or her employment with the designating party,

(ii) identified in the DESIGNATED MATERIAL as an author, addressee, or copy recipient of

such information, (iii) although not identified as an author, addressee, or copy recipient of such

DESIGNATED MATERIAL, has, in the ordinary course of business, seen such DESIGNATED

MATERIAL, (iv) a current or former officer, director, or employee of the producing Party or a

current or former officer, director, or employee of a company affiliated with the producing Party;

(v) counsel for a Party, including outside counsel and in-house counsel (subject to paragraph 9 of

this Order); (vi) an independent contractor, consultant, or expert retained for the purpose of this

litigation; (vii) court reporters and videographers; (viii) the Court; or (ix) other persons entitled

hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be

disclosed to any other persons unless prior authorization is obtained from counsel representing
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the producing Party or from the Court.

15.    Parties may, at the deposition or hearing or within thirty days after receipt of a deposition

or hearing transcript, designate the deposition or hearing transcript or any portion thereof as

“CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,” or “RESTRICTED

CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to the deposition or hearing

transcript so designated shall be limited in accordance with the terms of this Order. Until

expiration of the 30-day period, the entire deposition or hearing transcript shall be treated as

confidential.

16.    Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

shall remain under seal until further order of the Court. The filing party shall be responsible for

informing the Clerk of the Court that the filing should be sealed and for placing the legend

“FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the caption and

conspicuously on each page of the filing. Exhibits to a filing shall conform to the labeling

requirements set forth in this Order. If a pretrial pleading filed with the Court, or an exhibit

thereto, discloses or relies on confidential documents, information or material, such confidential

portions shall be redacted to the extent necessary and the pleading or exhibit filed publicly with

the Court.

17.    The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of this

Action, or from using any information contained in DESIGNATED MATERIAL at the trial of

this Action, subject to any pretrial order issued by this Court.

18.    A Party may request in writing to the other Party that the designation given to any

DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not agree
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to redesignation within ten days of receipt of the written request, the requesting Party may apply

to the Court for relief. Upon any such application to the Court, the burden shall be on the

designating Party to show why its classification is proper. Such application shall be treated

procedurally as a motion to compel pursuant to Federal Rules of Civil Procedure 37, subject to

the Rule’s provisions relating to sanctions. In making such application, the requirements of the

Federal Rules of Civil Procedure and the Local Rules of the Court shall be met. Pending the

Court’s determination of the application, the designation of the designating Party shall be

maintained.

19.    Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

accordance with the terms of this Order shall be advised by counsel of the terms of this Order,

shall be informed that he or she is subject to the terms and conditions of this Order, and shall

sign an acknowledgment that he or she has received a copy of, has read, and has agreed to be

bound by this Order. A copy of the acknowledgment form is attached as Appendix A.

20.    To the extent that any discovery is taken of persons who are not Parties to this Action

(“Third Parties”) and in the event that such Third Parties contended the discovery sought

involves trade secrets, confidential business information, or other proprietary information, then

such Third Party information is expressly protected by this Order.

21.    To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY” any

documents, information, or other material, in whole or in part, produced or given by such Third

Parties. The Third Parties shall have five days after production of such documents, information,

or other materials to make such a designation. Until that time period lapses or until such a

designation has been made, whichever occurs sooner, all documents, information or other
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material so produced or given shall be treated as “CONFIDENTIAL” in accordance with this

Order.

22.      Within 30 days of final termination of this Action, including any appeals, all

DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated into

any privileged memoranda of the Parties and materials which have been admitted into evidence

in this Action), shall at the receiving Party’s election either be returned to the producing Party or

be destroyed. The receiving Party shall verify the return or destruction by affidavit furnished to

the producing Party, upon the producing Party’s request.

23.      The failure to designate documents, information, or material in accordance with this

Order and the failure to object to a designation at a given time shall not preclude the filing of a

motion at a later date seeking to impose such designation or challenging the propriety thereof.

The entry of this Order or the production of documents, information, and material hereunder

shall in no way constitute a waiver of any objection to the furnishing thereof, all such objections

being hereby preserved.

24.      Any Party knowing or believing that any other party is in violation of or intends to violate

this Order and has raised the question of violation or potential violation with the opposing party

and has been unable to resolve the matter by agreement may move the Court for such relief as

may be appropriate in the circumstances.

25.      Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

publication of the documents, information, and material (or the contents thereof) produced so as

to void or make voidable whatever claim the Parties may have as to the proprietary and

confidential nature of the documents, information, or other material or its contents.
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26.    If at any time documents containing Protected Information are requested or subpoenaed

by any court, arbitral, administrative or legislative body, or are otherwise requested in discovery,

the requesting party shall give written notice thereof to every party who has produced such

documents and to its counsel and shall copy Plaintiffs on any such communication and shall

provide each such party with an opportunity to object to the production of such documents. If a

producing party does not take steps to prevent disclosure of such documents within 21 days of

the date written notice is given, the party to whom the referenced subpoena or referenced is

directed may produce such documents only after permission is granted, Court has Ordered, or the

ten day period has lapsed, but shall take all reasonable measures to have such documents treated

in accordance with terms of this Protective Order.

27.    Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of

any kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

28.    Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities if

reasonably necessary to prepare and present this Action and (b) to apply for additional protection

of DESIGNATED MATERIAL.




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



REALTIME DATA LLC d/b/a ISO,

                      Plaintiff,                          Civil Action No. No. 1:17‐cv‐11279‐IT

              v.
                                                            JURY TRIAL DEMANDED

ACRONIS, INC.,

                       Defendant.


                                 APPENDIX A
                    UNDERTAKING OF EXPERTS OR CONSULTANTS
                         REGARDING PROTECTIVE ORDER

       I, ____________________________________________, declare that:

1.          My address is
___________________________________________________________.

My current employer is _________________________________________________________.

My current occupation is ________________________________________________________.

2.              I have received a copy of the Protective Order in this action. I have carefully read
and

       understand the provisions of the Protective Order.

3.              I will comply with all of the provisions of the Protective Order. I will hold in
confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for

       purposes of this action any information designated as “CONFIDENTIAL,”

       “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

       SOURCE CODE” that is disclosed to me.

4.              Promptly upon termination of these actions, I will return all documents and things
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      designated as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY,” or

      “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession, and

      all documents and things that I have prepared relating thereto, to the outside counsel for

      the party by whom I am employed.

      5.             I hereby submit to the jurisdiction of this       Court for the purpose of

             enforcement of the Protective Order in this action.

      I declare under penalty of perjury that the foregoing is true and correct.

Signature ________________________________________

Date ____________________________________________




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